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     Attorneys for Plaintiffs
 8
 9                                UNITED STATES DISTRICT COURT
10                                      DISTRICT OF NEVADA
11
     LAS VEGAS POLICE PROTECTIVE ASSOCIATION
12                                                            CASE NO. 2:15-cv-01928
     METRO INC.; LAS VEGAS POLICE PROTECTIVE
13   ASSOCIATION CIVILIAN EMPLOYEES, INC.; LAS
     VEGAS METRO POLICE MANAGERS &                            NOTICE OF CONSTITUTIONAL
14   SUPERVISORS ASSOCIATION,                                 CHALLENGE TO STATE STATUTE
15                                                            [Fed. Rule Civ. Pro. 5.1]
                    Plaintiffs,
16
            vs.
17
     LAS VEGAS METROPOLITAN POLICE
18   DEPARTMENT;
19
                    Defendant.
20
21
     TO THE COURT AND NEVADA ATTORNEY GENERAL: PLEASE TAKE NOTICE
22
     that Plaintiffs’ complaint in this action challenges the constitutionality under the First and
23
     Fourteenth Amendments of Section 1 of SB 241 (a ban on local governments providing
24
     paid leaves for union business).
25
     Dated: October 7 , 2015             McCRACKEN STEMERMAN & HOLSBERRY
26
27                                       By:    /s/ Andrew J. Kahn
                                                Andrew J. Kahn
28                                              Attorneys for Plaintiffs


                                                   1
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                      CERTIFICATE OF SERVICE VIA CERTIFIED MAIL
 1
 2
           I hereby certify that on October 7, 2015, I mailed a copy of Notice of Constitutional
 3   Challenge to State Statute to the parties listed below:

 4        Liesl Freedman, General Counsel
 5        400 S. Martin Luther King Boulevard
          Las Vegas, Nevada 89106
 6
          Adam Paul Laxalt, Attorney General
 7        100 North Carson Street
 8        Carson City, NV 89701

 9          I declare under penalty of perjury under the laws of the State of Nevada that the
     foregoing is true and correct. Executed on this 7th day, of October, 2015.
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11                                      /s/Joy Medalle-Alferos
                                        Joy Medalle-Alferos
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